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11

12   Attorneys for plaintiffs and all others similarly-situated.
13                          UNITED STATES DISTRICT COURT
14
                          SOUTHERN DISTRICT OF CALIFORNIA
15

16   RONNIE BROOKS, LAURA SIEGEL,                 Case No.: 3:23-cv-01729-LL-BGS
     TIFFANY VINSON, PHILIP MCGILL,
17
     ANNIE CASTNER, and CHERELLE                  PLAINTIFFS’ NOTICE OF
18   BLOUNT, individually, and on behalf of       VOLUNTARY DISMISSAL OF
19
     all others similarly situated; and ROES 1    DEFENDANTS UNDER RULE 41(a)
     through 100 inclusive;
20                                                Assigned to: Judge Linda Lopez
21   Plaintiffs,
                                                  Referred to: Magistrate Judge Valerie E.
22
     v.                                           Torres
23
     GREYSTAR REAL ESTATE
24
     PARTNERS, LLC, a Delaware Limited
25   Liability Company; et al.
26

27   Defendants.
28
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 1
            Plaintiffs RONNIE BROOKS, LAURA SIEGEL, TIFFANY VINSON, PHILIP
 2
      MCGILL, ANNIE CASTNER, and CHERELLE BLOUNT, individually, and on behalf
 3    of all others similarly situated, hereby dismiss the following Defendants without prejudice
 4    pursuant to Rule 41(a)(1)(A)(i):
 5          1.     100 ALTAIR, LLC, a Delaware Limited Liability Company;
 6          2.     1066 MARKET, LLC, a Delaware Limited Liability Company;
 7          3.     1101 NORTH MAIN, LLC, a Delaware Limited Liability Company;
 8          4.     111 W. 7 OWNER LLC, a Delaware Limited Liability Company;
 9          5.     1221 JONES, LLC, a California Limited Liability Company;
10          6.     12444 VENICE INVESTMENTS, LP, a Delaware Limited Partnership;
11          7.     1318 SECOND STREET ASSOCIATES, a Delaware Limited Liability
12                 Company;
13          8.     1318 SECOND STREET ASSOCIATES, LLC, a Delaware Limited Liability
14                 Company;
15          9.     140 CENTER STREET LLC, a Delaware Limited Liability Company;
16          10.    1471 EIGHTH AVENUE, LLC, a Delaware Limited Liability Company;
17          11.    15700 LASSELLE CA LP, a Delaware Limited Partnership;
18          12.    1700 WEBSTER, LLC, a Oregon Limited Liability Company;
19          13.    171 W JULIAN STREET APARTMENTS INVESTORS LLC, a Delaware
20                 Limited Liability Company;
21          14.    1844 MARKET STREET, LLC, a Delaware Limited Liability Company;
22          15.    200 OCEAN BOULEVARD LLC, a Delaware Limited Liability Company
23
                   207 SEASIDE PARTNERS, LLC, a California Limited Liability Company;

24
            16.    22751 EL PRADO LLC, a Delaware Limited Liability Company;

25
            17.    2900 WILSHIRE, LLC, a California Limited Liability Company;

26
            18.    3093 BROADWAY HOLDINGS, L.L.C., a Delaware Limited Liability
                   Company;
27
            19.    3100 VAN BUREN BOULEVARD APARTMENTS INVESTORS LLC, a
28
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 1
                 Delaware Limited Liability Company;
 2
           20.   3364 HONEYBROK WAY GROUND OWNER LP, a Delaware Limited
 3               Partnership;
 4         21.   437 HILL HIGHRISE LLC, a Delaware Limited Liability Company;
 5         22.   437 HILL MIDRISE, LLC, a Delaware Limited Liability Company;
 6         23.   4700 TELEGRAPH AVENUE LP, a Delaware Limited Partnership;
 7         24.   471 26TH STREET APARTMENTS INVESTORS LLC, a Delaware
 8               Limited Liability Company;
 9         25.   4767 MOORPARK LLC, a Delaware Limited Liability Company;
10         26.   4900 LOS FELIZ INVESTORS LLC, a Delaware Limited Liability
11               Company;
12         27.   515 COLORADO, LLC, A California Limited Liability Company;
13         28.   5445 LANKERSHIM BOULEVARD APARTMENTS INVESTORS LLC,
14               a Delaware Limited Liability Company;
15         29.   570 21ST STREET APARTMENTS INVESTORS LLC, a Delaware
16               Limited Liability Company;
17         30.   600 S SPRING OWNER LLC, a Delaware Limited Liability Company;
18         31.   6606 VARIEL AVE, LLC, a Delaware Limited Liability Company;
19         32.   707 EAST OCEAN BOULEVARD, LP, a California Limited Partnership;
20         33.   7450 NORTHROP DRIVE APARTMENTS INVESTORS LLC, a Delaware
21               Limited Liability Company;
22         34.   752 SOUTH MAIN PROPERTY LLC, a Delaware Limited Liability
23
                 Company;

24
           35.   885 WOODSIDE, LLC, a California Limited Liability Company;

25
           36.   900 SOUTH FIGUEROA STREET APARTMENTS INVESTORS LLC, a

26
                 Delaware Limited Liability Company;
           37.   ADAGIO PARTNERS, L.P., a California Limited Partnership;
27
           38.   AEW CAPITAL MANAGEMENT, L.P.; a Delaware Limited Partnership;
28
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 1
           39.   AHDOUT DEBORAH, an individual;
 2
           40.   ALLEGIANT DEVELOPMENT COMPANY, LLC, a California limited
 3               liability company;
 4         41.   ALLIANCE RESIDENTIAL, LLC; an Arizona Limited Liability Company;
 5         42.   ALPHA Z SAN JOSE APT 1 LLC, a Delaware Limited Liability Company;
 6         43.   AMCAL EQUITIES LLC;
 7         44.   a California Limited Liability Company;
 8         45.   AMCAL HAYWARD LLC, a Delaware Limited Liability Company;
 9         46.   AMFP VI WINDSCAPE LLC, a Delaware Limited Liability Company;
10         47.   ANGULO BEATRIZ, an individual;
11         48.   ANNA ZUCKER, an individual;
12         49.   ANSON APARTMENTS LLC, a Delaware Limited Liability Company;
13         50.   ANTHEIA, LP, a California Limited Partnership;
14         51.   APARTMENTS AT LITTLE ITALY, LLC, a Delaware Limited Liability
15               Company;
16         52.   ASB GIBSON SANTA MONICA LLC, a Delaware Limited Liability
17               Company;
18         53.   ASB REAL ESTATE INVESTMENTS, an unknown entity;
19         54.   ASMBB VERMONT CA, LLC , A Delaware Limited Liability Company;
20         55.   ASPECT ACQUISITION LLC, a Delaware Limited Liability Company;
21         56.   AUTUMN SPRINGS RE INVESTORS, L.P., a California Limited
22               Partnership;
23
           57.   AV8 DT, LLC, a California Limited Liability Company;

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           58.   AVINO DEL, LLC, a Delaware Limited Liability Company;

25
           59.   AXIS FEE OWNER LLC, a Delaware Limited Liability Company;

26
           60.   B9 MF 12350 DEL AMO LLC, a Delaware Limited Liability Company;
           61.   B9 MF 23639 NEWHALL LLC, a Delaware Limited Liability Company;
27
           62.   B9 MF 23645 MEADOWRIDGE LLC, a Delaware Limited Liability
28
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 1
                 Company;
 2
           63.   B9 MF HIGHLANDS GT OWNER LLC, a Delaware Limited Liability
 3               Company;
 4         64.   BAKER BLOCK ASSOCIATES, L.P., a California Limited Partnership;
 5         65.   BAY MEADOWS RES 1 INVESTORS, LLC a Delaware Limited Liability
 6               Company;
 7         66.   BAY MEADOWS RES 4 INVESTORS, LLC, a Delaware Limited Liability
 8               Company;
 9         67.   BAY MEADOWS TOWN SQUARE INVESTORS, LLC, a Delaware
10               Limited Liability Company;
11         68.   BAY VIEW SD, LLC, a California Limited Liability Company;
12         69.   BCM 625 BROADWAY, LLC, a Delaware Limited Liability Company;
13         70.   BEATRIZ ANGULO LIVING TRUST, an unknown entity;
14         71.   BEHRINGER HARVARD ACAPPELLA LP, a business entity of form
15               unknown;
16         72.   BEHRINGER HARVARD MSSION OWNER, a Delaware Limited
17               Liability Company;
18         73.   BEHRINGER HARVARD NOHO LLC, a Delaware Limited Liability
19               Company;
20         74.   BEHRINGER HARVARD PACIFICA PROJECT OWNER LP, a Delaware
21               Limited Partnership;
22         75.   BEHRINGER HARVARD REDWOOD, a Delaware Limited Liability
23
                 Company;

24
           76.   BEHRINGER HARVARD SAN SEBASTIAN LP, a Delaware Limited

25
                 Partnership;

26
           77.   BEL BROOK APARTMENTS2 LLC, a California Limited Liability
                 Company;
27
           78.   BELL FUND VII VALENCIA LLC, a Delaware Limited Liability
28
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 1
                 Company;
 2
           79.   BELLA TERRA DEL, LLC, a Delaware Limited Liability Company;
 3         80.   BENEDICT CANYON EQUITIES, INC; a California Corporation;
 4         81.   BERE ISLAND PROPERTIES I LLC, a California Limited Liability
 5               Company;
 6         82.   BERHRINGER HARVARD CALYPSO LP, a Delaware Limited
 7               Partnership;
 8         83.   BERKELEY VQOF II SPE, LLC, a Delaware Limited Liability Company;
 9         84.   BISCAYNE ST TIC OWNER I LLC, a Delaware Limited Liability
10               Company;
11         85.   BISCAYNE ST TIC OWNER II LLC, a Delaware Limited Liability
12               Company;
13         86.   BLAI LP, a California Limited Partnership;
14         87.   BOARD OF TRUSTEES OF THE LELAND STANFORD JUNIOR
15               UNIVERSITY, an unknown business entity;
16         88.   BOARDWALK 1810, LLC, a Delaware Limited Liability Company;
17         89.   BPP ALPHABET MF SHERMAN CIRCLE LLC, a Delaware Limited
18               Liability Company;
19         90.   BRAD COX, an individual;;
20         91.   BRADDOCK & LOGAN GROUP, an unknown entity;
21         92.   BRE ALMADEA I MF PROPERTY OWNER LLC, a Delaware Limited
22               Liability Company;
23
           93.   BRE PIPER MF TIDES CA LLC, a Delaware Limited Liability Company;

24
           94.   BRE SILVER MF 1555 CA LLC, a Delaware Limited Liability Company;

25
           95.   BRE SILVER MF CANYON CREST CA LLC, a Delaware Limited

26
                 Liability Company;
           96.   BRE SILVER MF NORTH HOLLYWOOD CA LLC, a Delaware Limited
27
                 Liability Company;
28
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 1
           97.   BRE SILVER MF ROOSEVELT CA LLC, a Delaware Limited Liability
 2
                 Company;
 3         98.   BREIT MF CAMPANULA WAY, a Delaware Limited Liability Company;
 4         99.   BREIT MF DAY STREET, LLC, a Delaware Limited Liability Company;
 5         100. BREIT MF PROMENADE TERRACE, LLC, a Delaware Limited Liability
 6               Company;
 7         101. BREIT MF TELEGRAPH ROAD LLC, a Delaware Limited Liability
 8               Company;
 9         102. BREIT SH BERKELEY LLC, a Delaware Limited Liability Company;
10         103. BREIT SH UNIVERSITY VILLAGE TOWERS LLC, a Delaware Limited
11               Liability Company;
12         104. BRENTWOOD RE INVESTORS LLC,               a California Limited Liability
13               Company;
14         105. BRETT WHITEHEAD, an individual;
15         106. BROADSTONE FAIRFAX LLC, a Delaware Limited Liability Company;
16         107. BROADSTONE HERITAGE ALLIANCE, LLC, a Delaware Limited
17               Liability Company;
18         108. BROADSTONE LAGUNA NIGUEL ALLIANCE, LLC, a Delaware
19               Limited Liability Company;
20         109. BROADSTONE LOS FELIZ OWNER, LLC, a Delaware Limited Liability
21               Company;
22         110. BROADSTONE MAKERS QUARTER, LP, a Delaware Limited Liability
23
                 Company;

24
           111. BROADSTONE ON BROADWAY, LLC, a Delaware Limited Liability

25
                 Company;

26
           112. BROOKSIDE RE INVESTORS LP, a California Limited Partnership;
           113. BRYANT STREET HOLDINGS LLC, a Delaware Limited Liability
27
                 Company;
28
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 1
           114. BURBANK MEDIA VILLAGE, LLC, a California Limited Liability
 2
                 Company;
 3         115. BWC I LLC, a Washington Limited Liability Company;
 4         116. CANTERRA APARTMENTS LLC, a Delaware Limited Liability
 5               Company;
 6         117. CANYON WOODS OWNERS ASSOCIATION I, a California Nonprofit
 7               Corporation;
 8         118. CAPE MAY TEMECULA APARTMENTS, LLC, a Delaware Limited
 9               Liability Company;
10         119. CARLSBAD VILLAGE II, LLC, a Delaware Limited Liability Company;
11         120. CARMEL MOUNTAIN APARTMENTS, INC., a Delaware Stock
12               Corporation;
13         121. CARMEL PARTNERS, an unknown business entity;
14         122. CARMEL TERRACE, L.P., a California Limited Partnership;
15         123. CARMEN APARTMENT PARTNERS TIC I LLC, a Delaware Limited
16               Liability Company;
17         124. CASA RUIZ DEL, LLC, a Delaware Limited Liability Company;
18         125. CASA VALLECITOS, LTD, a California Limited Partnership;
19         126. CASENTINI STREET APARTMENTS, LLC, a Delaware Limited Liability
20               Company;
21         127. CASOLEIL DEL, LLC, a Delaware Limited Liability Company;
22         128. CATHEDRAL HILL ASSOCIATES, L.P., a California Limited Partnership;
23
           129. CENTRAL PARK PARTNERS, L.P., a California Limited Partnership;

24
           130. CG-USA SIMI VALLEY LP, a Delaware Limited Partnership;

25
           131. CH REALTY IX/MF SAN DIEGO EAGLE GLEN OWNER GP, L.L.C., a

26
                 Delaware Limited Liability Company;
           132. CHADWICH LF OWNER LLC, an unknown business entity;
27
           133. CHULA VISTA APARTMENTS LLC, a Delaware Limited Liability
28
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 1
                 Company;
 2
           134. CI-GS HILLCREST LLC, a Delaware Limited Liability Company;
 3         135. CIRCA 1200 LLC, a Delaware Limited Liability Company;
 4         136. CIVIC SQUARE, LLC, a California Limited Liability Company;
 5         137. CLI ATLAS ASHTON LLC, a Delaware Limited Liability Company;
 6         138. CLPF - BALBOA PARK, L.P., a Delaware Limited Partnership;
 7         139. CLPF ARTIST WALK LP, a Delaware Limited Partnership;
 8         140. CLPF CRESCENT PARK LP, a Delaware Limited Partnership;
 9         141. CLPF GRP SUNNYVALE KIFER LLC, a Delaware Limited Liability
10               Company;
11         142. CLPF TOWER AT HOLLYWOOD HILLS LP, a Delaware Limited
12               Liability Company;
13         143. CONTRA COSTA RE INVESTORS, LLC, a California Limited Liability
14               Company;
15         144. CORTE BELLA FEE OWNER LLC, a Delaware Limited Liability
16               Company;
17         145. CP III RINCON TOWERS, INC., a Colorado Stock Corporation;
18         146. CP V JLS, LLC, a Delaware Limited Liability Company;
19         147. CP V WALNUT, LLC, a Delaware Limited Liability Company;
20         148. CP VI ADMIRALS COVE, LLC, a Delaware Limited Liability Company;
21         149. CP VI FRANKLIN, LLC, a Delaware Limited Liability Company;
22         150. CP VII ONE38, LLC, a Delaware Limited Liability Company;
23
           151. CPI SOFIA OWNER, L.L.C., a Delaware Limited Liability Company;

24
           152. CPI-GREP AA I BUENA VIDA OWNER, L.L.C., a Delaware Limited

25
                 Liability Company;

26
           153. CR AIRWAY GARDENS, LLC, a Delaware Limited Liability Company;
           154. CR LUXE COMMUNITIES, LLC, a Delaware Limited Liability Company;
27
           155. CR WESTWOOD COMMUNITIES, LLC, a Delaware Limited Liability
28
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 1
                 Company;
 2
           156. CRP & BRANDYWINE HAWTHRONE APARTMENTS OWNER, an
 3               unknown business entity;
 4         157. CRP/THC MISSION GORGE WEST I OWNER, L.L.C., a Delaware
 5               Limited Liability Company;
 6         158. CRP-GREP VENTURA 140 OWNER, L.L.C., a Delaware Limited Liability
 7               Company;
 8         159. CV MENLO PARK, LLC, a Delaware Limited Liability Company;
 9         160. CYPRESS POINT RE INVESTORS LLC, a California Limited Liability
10               Company;
11         161. CYPRESS SANDS APARTMENT PARTNERS, LLC, a Delaware Limited
12               Liability Company;
13         162. DUARTE MULTIFAMILY, LLC, a Delaware Limited Liability Company;
14         163. DWIGHT WAY RESIDENTIAL PROPERTY OWNER, LLC, a Delaware
15               Limited Liability Company;
16         164. EAST PACIFIC PROPERTIES LLC, a Delaware Limited Liability
17               Company;
18         165. EFL DEVELOPMENT COMPANY, L.P., a California Limited Partnership;
19         166. ENCANTO APARTMENT HOMES, LLC, a California Limited Liability
20               Company;
21         167. EXPO LINE OWNER, LLC, a Delaware Limited Liability Company;
22         168. FHF I AMERIGE POINTE, LLC, a Delaware Limited Liability Company;
23
           169. FHF I THE HEIGHTS, LLC, a Delaware Limited Liability Company;

24
           170. FILLMORE CENTER ASSOCIATES, LP, a California Limited Partnership;

25
           171. FLOIT PROPERTIES INC., an unknown business entity;

26
           172. FOUNTAIN PLAZA INVESTORS LP, a Delaware Limited Partnership;
           173. FRIT SAN JOSE TOWN & COUNTRY VIL LLC, a California Limited
27
                 Liability Company;
28
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 1
           174. FRIT SAN JOSE TOWN AND COUNTRY VILLAGE, LLC, a California
 2
                 Limited Liability Company;
 3         175. FSTAR 1637 LLC, a California Limited Liability Company;
 4         176. FV DEL 5, LLC, a Delaware Limited Liability Company;
 5         177. GAR REAL ESTATE MANAGEMENT, a California corporation;
 6         178. GDCV CULVER CITY, LLC, a Delaware Limited Liability Company;
 7         179. GDCV II BP VILLAGE C-2 REIT, LLC, a Delaware Limited Liability
 8               Company;
 9         180. GDCV II WEST LA 135, LLC, a Delaware Limited Liability Company;
10         181. GDCV MARKET STREET 87, LLC, a Delaware Limited Liability
11               Company;
12         182. GDCV PASADENA 201, LLC, a Delaware Limited Liability Company;
13         183. GEDR HILLSIDE, LLC, a Delaware Limited Liability Company;
14         184. GEP X ISLA VISTA LLC, a Delaware Limited Liability Company;
15         185. GEP XI Vista Point, LLC, a Delaware Limited Liability Company;
16         186. GFP OCEANSIDE BLOCK 18, LLC, a Delaware Limited Liability
17               Company;
18         187. GFP OCEANSIDE BLOCK 19, LLC, a Delaware Limited Liability
19               Company;
20         188. GG LA FIGUEROA , LLC, a Delaware Limited Liability Company;
21         189. GGIF GLENDALE, LLC, a Delaware Limited Liability Company;
22         190. GGIF VIANO, LLC, a Delaware Limited Liability Company;
23
           191. GOLDEN GATEWAY CENTER SPE, LLC, a Delaware Limited Liability

24
                 Company;

25
           192. GREENFIELD VILLAGE DEL, LLC, a Delaware Limited Liability

26
                 Company;
           193. GREENLAND US HOLDINGS INC, a Delaware Stock Corporation;
27
           194. GREG R NEVILLE, an individual;
28
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 1
           195. GROSVENOR DEL REY CORPORATION, a Delaware Stock Corporation;
 2
           196. GS 1401 MISSION PROJECT OWNER, LLC, a Delaware Limited Liability
 3               Company;
 4         197. GS AA RIVERWALK OWNER, LLC, a Delaware Limited Liability
 5               Company;
 6         198. GS AA SAN MARCOS OWNER, LLC, a Delaware Limited Liability
 7               Company;
 8         199. GS ARGENTA PROJECT OWNER, LLC, a Delaware Limited Liability
 9               Company;
10         200. GS Corona, LLC, a Delaware Limited Liability Company;
11         201. GS SANTA FE APARTMENTS, L.P, a Delaware Limited Partnership;
12         202. GS TULLY ROAD, LLC, a Delaware Limited Liability Company;
13         203. GSIC II ALMADEN OWNER, LP, a Delaware Limited Partnership;
14         204. GSIC II CUCAMONGA OWNER, LP, a Delaware Limited Partnership;
15         205. GSIC II PALOS VERDES OWNER, LP, a Delaware Limited Partnership;
16         206. GSIC II PINE OWNER, LP, a Delaware Limited Partnership;
17         207. GSIC II STONERIDGE OWNER, LP, a Delaware Limited Partnership;
18         208. GSIC II SUNNYVALE OWNER, LP, a Delaware Limited Partnership;
19         209. GSIC II WILSHIRE OWNER, LP, a Delaware Limited Partnership;
20         210. GUGV ARTS DISTRICT LA PROPERTY OWNING LLC, a Delaware
21               Limited Liability Company;
22         211. GW4 LLC, a Delaware Limited Liability Company;
23
           212. HARBOR PARK APARTMENTS, LP, a California Limited Partnership;

24
           213. Harold Wang, an individual;

25
           214. HAYWARD 544, LLC, a Delaware Limited Liability Company;

26
           215. HDO4, LLC, a New Mexico Limited Liability Company;
           216. HERCULES BLOCK Q&R DEVELOPMENT PARTNERS LP, a Delaware
27
                 Limited Liability Company;
28
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 1
           217. HESPERIA APARTMENTS, LLC, a California Limited Liability Company;
 2
           218. HIGBY JV, LLC, a Delaware Limited Liability Company;
 3         219. HOLLYWOOD 180 HOLDCO, LLC, a Delaware Limited Liability
 4               Company;
 5         220. HOMES ON LOCUST, LLC, a Wyoming Limited Liability Company;
 6         221. HONEYBROOK WAY GROUND OWNER LP, a Delaware Limited
 7               Partnership;
 8         222. Howard Heitner, an individual;
 9         223. HPI 919 BAYSIDE LLC, a California Limited Liability Company;
10         224. ICON EDEN PLAZA OWNER POOL 2, LLC, a Delaware Limited Liability
11               Company;
12         225. ICRE LAGUNA CLUB, LLC, a Delaware Limited Liability Company;
13         226. IDEAL LINCOLN LLC, a California Limited Liability Company;
14         227. INL FAIRWAY VIEW 2012, LLC, a California Limited Liability Company;
15         228. IRONWOOD SOUTH DJT, LLC, a California Limited Liability Company;
16         229. IRVINE HIGHRISE RESIDENTIAL LLC, a Delaware Limited Liability
17               Company;
18         230. IVY STATION LLC, a Delaware Limited Liability Company;
19         231. JACK LONDON SQUARE DEVELOPMENT OAKLAND OWNER LLC,
20               a Delaware Limited Liability Company;
21         232. JADE ENTERPRISES, an unknown business entity;
22         233. JEFFERSON AT STADIUM PARK-PHASE B OWNER, LLC, a Delaware
23
                 Limited Liability Company;

24
           234. JEREMY MEREDITH, an individual;

25
           235. JESUS LLC, an unknown business entity;

26
           236. JIM ANDERSEN, an individual;
           237. JOAN E. TAPPER, an individual;
27
           238. JTJ APARTMENT INVESTORS, LLC, a California Limited Liability
28
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 1
                 Company;
 2
           239. K & M SOUTH BERKELEY LLC, a Delaware Limited Liability Company;
 3         240. K 46, LLC, a California Limited Liability Company;
 4         241. K1 THIRTEENTH ST SD LLC, a Delaware Limited Liability Company;
 5         242. KENSINGTON APARTMENTS, LP, a California Limited Partnership;
 6         243. KENTWOOD INVESTORS, a California Limited Partnership;
 7         244. KILROY REALTY FINANCE PARTNERSHIP, L.P., a Delaware Limited
 8               Partnership;
 9         245. KR ACADMY LLC, a California Limited Liability Company;
10         246. KR HOLLYWOOD, LLC, a Delaware Limited Liability Company;
11         247. KW MONTCLAIR, LLC, a Delaware Limited Liability Company;
12         248. KW SANTA CLARITA TOWNHOMES LLC, a Delaware Limited Liability
13               Company;
14         249. KW WESTMORELAND TIC, LLC, a Delaware Limited Liability
15               Company;
16         250. LA APT. 1, LLC, a Delaware Limited Liability Company;
17         251. LA FLOWER STREET APARTMENTS LP, a California Limited
18               Partnership;
19         252. LA PLAZA VILLAGE, LLC, a Delaware Limited Liability Company;
20         253. LAFAYETTE APARTMENT ASSOCIATES LP, an unknown business
21               entity;
22         254. LAFAYETTE APT ASSOCIATES LP, a California Limited Partnership;
23
           255. LAKEVIEW 88, LLC, a California Limited Liability Company;

24
           256. LANDING APARTMENTS DEL, LLC, a Delaware Limited Liability

25
                 Company;

26
           257. LATIGO THOUSAND OAKS LLC, a Delaware Limited Liability
                 Company;
27
           258. Lauren Boyd, an individual;
28
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 1
           259. LAYLA PROPERTIES, LLC, a California Limited Liability Company;
 2
           260. Lee M Kort, an individual;
 3         261. LEGACY APARTMENTS DEL, LLC, a Delaware Limited Liability
 4               Company;
 5         262. LEGACY      PARTNERS         CORPORATE,       INC.,   a   California   Stock
 6               Corporation;
 7         263. LENNAR COMMUNITIES, INC., a California corporation;
 8         264. LIAO COMMERCIAL DE LACEY AVE LLC, a California Limited
 9               Liability Company;
10         265. LIFE ILLUMINATED LLC, a Delaware Limited Liability Company;
11         266. LINCOLN 1641 LLC, a California Limited Liability Company;
12         267. LIPT SAN DIEGO, INC., a Delaware Stock Corporation;
13         268. LIVCOR LLC, a Delaware Limited Liability Company;
14         269. LOFTS 655 HOLDCO LLC, a Delaware Limited Liability Company;
15         270. LOFTS 677 HOLDCO LLC, a Delaware Limited Liability Company;
16         271. LOFTS 707 HOLDCO LLC, a Delaware Limited Liability Company;
17         272. LOS FELIZ INVESTORS, LLC, a Delaware Limited Liability Company;
18         273. LOWE ENTERPRISES REAL ESTATE GROUP, a California Corporation;
19         274. LPF OVERLOOK, INC., a Delaware Stock Corporation;
20         275. LT SACRAMENTO MF, LLC, a Delaware Limited Liability Company;
21         276. LUGANO APARTMENTS PR III LLC, a Delaware Limited Liability
22               Company;
23
           277. LUXE PASADENA LLC, a California Limited Liability Company;

24
           278. MADISON HILLS PROPERTY OWNER LLC, a Delaware Limited

25
                 Liability Company;

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           279. MADISON-MF MCCADDEN CA LLC, a Delaware Limited Liability
                 Company;
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           280. MADRID APARTMENTS RF, LLC, a Delaware Limited Liability
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 1
                 Company;
 2
           281. MAGNOLIA BROADWAY HOLDCO, LLC, a Delaware Limited Liability
 3               Company;
 4         282. MAIN STREET CUPERTINO MULTI-FAMILY PROPERTY, a Delaware
 5               Limited Liability Company;
 6         283. MARAZZO REALTY HOLDINGS, LLC, a California Limited Liability
 7               Company;
 8         284. Mariposa Bliss LLC, a Delaware Limited Liability Company;
 9         285. MARKET DOLORES LLC, a Delaware Limited Liability Company;
10         286. MARVIN F. POER AND COMPANY, LLC, a Texas Limited Liability
11               Company;
12         287. Matt Riffle, an individual;
13         288. MCP ONYX, LLC, a Delaware Limited Liability Company;
14         289. MICHAEL SOROCHINCKY, an individual;
15         290. MIREF WARNER CENTER, LLC, a Delaware Limited Liability Company;
16         291. MISSION VALLEY INVESTORS, L.P., a California Limited Partnership;
17         292. MISSIONS AT RIO VISTA I DEL, LLC, a Delaware Limited Liability
18               Company;
19         293. MMIP CURRENT OWNER LLC, a Delaware Limited Liability Company;
20         294. MMP ASHTON OWNER, LLC, a Delaware Limited Liability Company;
21         295. MMP SOUTH PARK OWNER, LLC, a Delaware Limited Liability
22               Company;
23
           296. MNCVAD II-HOLLIDAY UNION JV LLC, a Delaware Limited Liability

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                 Company;

25
           297. MONOGRAM RESIDENTIAL RENAISSANCE, LP, a Delaware Limited

26
                 Partnership;
           298. MONROVIA APARTMENT EPF I LLC, a Delaware Limited Liability
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                 Company;
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 1
           299. MONTCLAIR ARROW APARTMENTS, L.P. a Delaware Limited
 2
                 Partnership;
 3         300. MONTECITO APARTMENT HOMES, a California Limited Liability
 4               Company;
 5         301. MONTECITO VILLAGE PARTNERS, L.P, a Delaware Limited
 6               Partnership;
 7         302. MONTEREY PENINSULA LAND PARTNERS, LLC, a California Limited
 8               Liability Company;
 9         303. MONTEREY TOWNHOUSE LAND PARTNERS, LLC, a California
10               Limited Liability Company;
11         304. MONTESSA MANAGEMENT, LP, a California Limited Partnership;
12         305. MONTIAVO AT BRADLEY SQUARE OWNER LLC, a Delaware Limited
13               Liability Company;
14         306. MUSEUM PARK PROPERTY LLC, a Delaware Limited Liability
15               Company;
16         307. MVSA VENTURE, LLC, a Delaware Limited Liability Company;
17         308. N AVENUE, LP, a California Limited Partnership;
18         309. NAVAJO BLUFFS DEL, LLC, a Delaware Limited Liability Company;
19         310. NEW PACIFIC CARLYLE, LLC, a Delaware Limited Liability Company;
20         311. NM-JASPER, LLC, a Delaware Limited Liability Company;
21         312. NORTHLAND THEA PROTFOLIO LLC, a Delaware Limited Liability
22               Company;
23
           313. NP PARC CHATEAUX INC, a Delaware Stock Corporation;

24
           314. OAK SPRINGS PARTNERS, L.P., a California Limited Partnership;

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           315. OCEAN AIR, L.P. a California Limited Partnership;

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           316. OCEAN BREEZE APARTMENT ASSOCIATES, L.P., a California Limited
                 Partnership;
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           317. OCEANVIEW TERRACE, L.P., a California Limited Partnership;
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 1
           318. OCOTILLO LA 9001SMB, LLC, a Delaware Limited Liability Company;
 2
           319. OKTOGON SANTA ANA LLC, a Delaware Limited Liability Company;
 3         320. ONYX EAST APARTMENTS LLC, a California Limited Liability
 4               Company;
 5         321. OSM PROPERTY LLC, a Delaware Limited Liability Company;
 6         322. PALOMAR STATION DJT (PHASE 1), LLC, a Delaware Limited Liability
 7               Company;
 8         323. PARC ONE DEL, LLC, a Delaware Limited Liability Company;
 9         324. PARK KIELY REIT INC., a Maryland Stock Corporation;
10         325. PARKER-SHATTUCK OWNER, LLC, a Delaware Limited Liability
11               Company;
12         326. PASO ROBLES MUTLIFAMILY LLC, a California Limited Liability
13               Company;
14         327. PATT BARTLETT, an individual;
15         328. PERSEA SENIOR BORROWER LLC, a Delaware Limited Liability
16               Company;
17         329. PKV 1031 SAN DIEGO, LLC, a California Limited Liability Company;
18         330. PLAZA APARTMENTS GP LLC, a California Limited Liability Company;
19         331. PLAZA APARTMENTS GP LLC, a California Limited Liability Company;
20         332. PORT 121 LLC, a Delaware Limited Liability Company;
21         333. POTRERO LAUNCH AFFORDABLE LP, a California Limited Partnership;
22         334. PR 1910 UNION LLC, a Delaware Limited Liability Company;
23
           335. PR 1921 UNION LLC, a Delaware Limited Liability Company;

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           336. PR BROADSTONE BERITAGE I LLC, a Delaware Limited Liability

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                 Company;

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           337. PR BROADSTONE HERITAGE I LLC, a Delaware Limited Liability
                 Company;
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           338. PR IMPERIA LOS ANGELES LLC, a Delaware Limited Liability
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 1
                 Company;
 2
           339. PROVDENCE II ARTE APARTMENTS LLC, a Delaware Limited Liability
 3               Company;
 4         340. PROVIDENCE CAPITAL GROUP INC, a California Corporation;
 5         341. PRU JSM TRINO LLC, a Delaware Limited Liability Company;
 6         342. R & V MANAGEMENT Group, Inc., a Nevada Corporation;
 7         343. RAINCROSS SENIOR PARTNERS, LLC, a California Limited Liability
 8               Company;
 9         344. RAINTREE 1122 UNIVERSITY LLC, a Delaware Limited Liability
10               Company;
11         345. RAINTREE 1200 RIVERSIDE LLC, a Delaware Limited Liability
12               Company;
13         346. RAINTREE 201 MARSHALL LLC, a Delaware Limited Liability
14               Company;
15         347. RAINTREE 2051 THIRD STREET LLC, a Delaware Limited Liability
16               Company;
17         348. RAINTREE 973 MARKET MASTER TENANT LLC, a Delaware Limited
18               Liability Company;
19         349. RAINTREE CAMPBELL LLC, a Delaware Limited Liability Company;
20         350. RAINTREE DEL PRADO LLC, a Delaware Limited Liability Company;
21         351. RAINTREE FAIR OAKS LLC, a Delaware Limited Liability Company;
22         352. RAINTREE FLOWER FIELDS LLC, a Delaware Limited Liability
23
                 Company;

24
           353. RAINTREE FOUNTAIN VALLEY LLC, a Delaware Limited Liability

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                 Company;

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           354. RAINTREE PARTNERS, an unknown business entity;
           355. RAINTREE TRIESTE LLC, a Delaware Limited Liability Company;
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           356. RAINTREE VENTURA COLONY LLC, a Delaware Limited Liability
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 1
                 Company;
 2
           357. RAINTREE WALNUT CREEK LLC, a Delaware Limited Liability
 3               Company;
 4         358. RANCHO INVESTORS, L.P., a Delaware Limited Liability Company;
 5         359. RANCHO PRESIDIO FEE OWNER LLC, a Delaware Limited Liability
 6               Company;
 7         360. RAR2 SUMMERWOOD SARATOGA CA INC, a Delaware Stock
 8               Corporation;
 9         361. REGENCY DURANT, LLC, a Delaware Limited Liability Company;
10         362. REGENCY HILLTOP, LLC, a Delaware Limited Liability Company;
11         363. RESCORE 1699 MARKET LLC, a Delaware Limited Liability Company;
12         364. RESCORE KOREATOWN, LLC, a Delaware Limited Liability Company;
13         365. RESERVE REIT INC., a Maryland Stock Corporation;
14         366. REVANTAGE CORPORATE SERVICES LLC, a Delaware Limited
15               Liability Company;
16         367. RI - BERKELEY, LLC, a California Limited Liability Company;
17         368. RICHARD MUNKVOLD, an individual;
18         369. RISING GLEN DEL, LLC, a Delaware Limited Liability Company;
19         370. RIVERSIDE LOCHMOORE DRIVE APARTMENTS, LP, a California
20               Limited Partnership;
21         371. RIVERVIEW DEL I, LLC, a Delaware Limited Liability Company;
22         372. RIVUE MCA, LLC, a California Limited Liability Company;
23
           373. RIZE LKMS, LLC, a California Limited Liability Company;

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           374. ROBERT JEANS, an individual;

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           375. ROC III CA CREEKWOOD, LLC, a Delaware Limited Liability Company;

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           376. ROHNERT PARK 668 LP, a California Limited Partnership;
           377. ROLLING HILLS GARDEN APARTMENTS, LLC, a California Limited
27
                 Liability Company;
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 1
           378. RONISPEN INVESTMENT CORPORATION, an unknown business entity;
 2
           379. ROSINA VISTA, L.P., a California Limited Partnership;
 3         380. RRE Bonita Glen Holdings LLC, a Delaware Limited Liability Company;
 4         381. RREEF AMERICA REIT II CORP DD, a Maryland Stock Corporation;
 5         382. Ryan, LLC, an unknown business entity;
 6         383. SAN RAMON PARK PLACE, LLC, a California Limited Liability
 7               Company;
 8         384. SANTA MARIA LAND PARTNERS LLC, a Delaware Limited Liability
 9               Company;
10         385. SANTA MARIA MULTIFAMILY LLC, a Delaware Limited Liability
11               Company;
12         386. SANTEE VILLAS DEL, LLC, a Delaware Limited Liability Company;
13         387. SDCO HILLS OF CORONA, INC., a Delaware Stock Corporation;
14         388. SEAN BURTON, an individual;
15         389. SEPULVEDA APTS. LP, a California Limited Partnership;
16         390. SETA APARTMENT HOMES DEL, LLC, a Delaware Limited Liability
17               Company;
18         391. SF APT 1, LLC, a Delaware Limited Liability Company;
19         392. SHAC 988 ECR APARTMENTS LLC, a Delaware Limited Liability
20               Company;
21         393. SHAC DEL MEDIO APARTMENTS LLC, a Delaware Limited Liability
22               Company;
23
           394. SHAC SOUTH MATHILDA AVENUE LLC, a Delaware Limited Liability

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                 Company;

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           395. SHADOWRIDGE WOODBEND DEL, LLC, a Delaware Limited Liability

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                 Company;
           396. SHEARWATER COMMUNITIES, LLC, a Delaware Limited Liability
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                 Company;
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 1
           397. SHERIDAN PARK, LLC, a Delaware Limited Liability Company;
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           398. SI 26, LLC, a California Limited Liability Company;
 3         399. SI 32, LLC, a California Limited Liability Company;
 4         400. SI 40, LLC, a California Limited Liability Company;
 5         401. SI 51, LLC, a California Limited Liability Company;
 6         402. SI 52, LLC, a California Limited Liability Company;
 7         403. SI 61, LLC, a California Limited Liability Company;
 8         404. SI 66, LLC, a California Limited Liability Company;
 9         405. SI VII, LLC, a California Limited Liability Company;
10         406. SI VIII, LLC, a California Limited Liability Company;
11         407. SI XXII, LLC, a California Limited Liability Company;
12         408. SIGNATURE POINT MULTI, LLC, a Delaware Limited Liability
13               Company;
14         409. SILICON BEACH LIVE, LLC, a California Limited Liability Company;
15         410. SM - CLOVERFIELD INVESTORS, LLC, a Delaware Limited Liability
16               Company;
17         411. SOBRATO DEVELOPMENT COMPANY #940, LLC, a Delaware limited
18               liability company;
19         412. SOCAL II NOBEL LLC, a Delaware Limited Liability Company;
20         413. SOFTWIND POINT DEL, LLC, a Delaware Limited Liability Company;
21         414. SOHAY APARTMENTS, LLC, a Delaware Limited Liability Company;
22         415. SOLANA RIDGE, L.P., a California Limited Partnership;
23
           416. SOLTERRA AT CIVIC CENTER, LP, a California Limited Partnership;

24
           417. SOUTH SEPULVEDA INVESTORS LP, a Delaware Limited Partnership;

25
           418. SOUTHBORDER LLC, a California Limited Liability Company;

26
           419. SP/P CHANNEL POINT, L.L.C., a Delaware Limited Liability Company;
           420. SRI ELEVEN 601 CAPITOL MALL LLC, a Delaware Limited Liability
27
                 Company;
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 1
           421. ST. MORITZ PROPERTY OWNER LLC, a Delaware Limited Liability
 2
                 Company;
 3         422. STONE ARBOR APARTMENTS, LLC, a Delaware Limited Liability
 4               Company;
 5         423. SUNBOW PARTNERS, L.P., a California Limited Partnership;
 6         424. SW WESTCHESTER LAND, LLC, a Delaware Limited Liability Company;
 7         425. SYCAMORE CORE PROPERTY OWNER, LLC, a Delaware Limited
 8               Liability Company;
 9         426. TA SEACREST APARTMENTS, LLC, a Delaware Limited Liability
10               Company;
11         427. TA VENICE ON ROSE, LP, a Delaware Limited Partnership;
12         428. TALAVERA RIDGE APARTMENTS, L.P., a California Limited
13               Partnership;
14         429. TARIGO PROPERTIES LLC, a California Limited Liability Company;
15         430. TAVERA, L.P., a California Limited Partnership;
16         431. T-C LEGACY AT WESTWOOD LLC, a Delaware Limited Liability
17               Company;
18         432. T-C REGENTS COURT LLC, a Delaware Limited Liability Company;
19         433. TCP-7E, LLC, a Delaware Limited Liability Company;
20         434. TEACHERS INS & ANNUITY ASSOCIATION, an unknown business
21               entity;
22         435. TENNESSEE TRIPLE SEVEN LLC, a Delaware Limited Liability
23
                 Company;

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           436. TERRA FUNDING - NATOMAS, LLC, a Delaware Limited Liability

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                 Company;

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           437. TERRANO APARTMENT HOMES, LLC, a California Limited Liability
                 Company;
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           438. THE 626 ORCHARD LLC, a Delaware Limited Liability Company;
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 1
           439. THE ARBORS - LAKE FOREST ASSOCIATES, LLC, a Delaware Limited
 2
                 Liability Company;
 3         440. THE GRAND SHERMAN OAKS, LLC, a Delaware Limited Liability
 4               Company;
 5         441. THE HANOVER AMERICAN INSURANCE COMPANY, a New
 6               Hampshire Corporation;
 7         442. THE HAVEN AT COTTLE STATION, LLC, a South Carolina Limited
 8               Liability Company;
 9         443. THE HAVEN AT PETALUMA, LLC, a South Carolina Limited Liability
10               Company;
11         444. THE RESIDENCES AT COTA VERA, LLC, a Delaware Limited Liability
12               Company;
13         445. THE WILCO APARTMENTS, LLC, a California Limited Liability
14               Company;
15         446. THOMAS LOFARO, an individual;
16         447. THOMAS WULF, an individual;
17         448. TILDEN - LAFAYETTE LLC, a California Limited Liability Company;
18         449. TILDEN - PARK CROSSING LLC, a California limited liability Company;
19         450. TIMOTHY VIOLE, an individual;
20         451. TOWN CENTER APARTMENTS, INC., a Delaware Stock Corporation;
21         452. TREA HOLLY STREET VILLAGE LLC, a Delaware Limited Liability
22               Company;
23
           453. TRES PINOS LTD., a California Limited Partnership;

24
           454. TRIO PASADENA, LLC, a California Limited Liability Company;

25
           455. TROJAN PROPERTY INVESTORS, LLC, a Delaware Limited Liability

26
                 Company;
           456. TRUAMERICA MULTIFAMILY LLC, a Delaware Limited Liability
27
                 Company;
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 1
           457. TSV APARTMENTS, LLC, a Delaware Limited Liability Company;
 2
           458. TURTLE CREEK RESIDENTIAL LLC, a California Limited Liability
 3               Company;
 4         459. TUSCANY RIDGE TEMECULA DEL, LLC, a Delaware Limited Liability
 5               Company;
 6         460. TUSTIN COVENTRY SENIORS, LP, a California Limited Partnership;
 7         461. U.S. REIF SIERRA RIDGE CA LP, a Delaware Limited Partnership;
 8         462. UNIVERSITY ENTERPRISES, INC., a California Stock Corporation;
 9         463. USA PROPERTIES FUND INC, a California Corporation;
10         464. VA7 CASA VERDE LLC, a Delaware Limited Liability Company;
11         465. VA8 SIERRABROOK LLC, a Delaware Limited Liability Company;
12         466. VALENCIA ASSOCIATES, LLC, a Delaware Limited Liability Company;
13         467. VAYA WC, LLC, a Delaware Limited Liability Company;
14         468. VENTURA TERRACE, LLC, a California Limited Liability Company;
15         469. VERANDA ASSOCIATES, LP, a California Limited Partnership;
16         470. VERMONT CA GARDENS LP, a Delaware Limited Partnership;
17         471. VILLAGE SQUARE APARTMENTS DEL, LLC, a Delaware Limited
18               Liability Company;
19         472. VISTA CREEKSIDE APARTMENTS, LLC, a California Limited Liability
20               Company;
21         473. WEST 27TH, LLC, a Delaware Limited Liability Company;
22         474. WEST SACRAMENTO MULTIFAMILY, LLC, a California Limited
23
                 Liability Company;

24
           475. WHISPERING OAKS LP, a California Limited Partnership;

25
           476. WILSHIRE HOBART 377 PROJECT, LLC, a Delaware Limited Liability

26
                 Company;
           477. WOODLAND PARK PROPERTY OWNER, LLC, a California Limited
27
                 Liability Company;
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 1
           478. WOODSIDE PARK, LLC, a Delaware Limited Liability Company.
 2

 3

 4    Dated: January 19, 2024            LAW OFFICE OF JIMMIE DAVIS PARKER
 5

 6                                       By: Jimmie Davis Parker_______
                                               JIMMIE DAVIS PARKER
 7
                                         HOGUE & BELONG
 8
                                             JEFFREY HOGUE
 9                                           TYLER J BELONG

10                                       DIAMOND McCARTHY LLP
                                             DAMION D. D. ROBINSON
11

12                                       Attorneys for Plaintiffs and all others similarly situated

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Case 3:23-cv-01729-LL-VET     Document 30 Filed 01/19/24        PageID.1007      Page 27
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                              CERTIFICATE OF SERVICE
              Brooks, et al. v. Greystar Real Estate Partners, LLC, et al.
              USDC Southern District Case No. 3:23-cv-01729-LL-BGS
         At the time of service, I was over 18 years of age and not a party to this action.
   I am employed in the County of San Diego, State of California. My business address
   is 7812 Wing Flight Court San Diego, CA 92119.
           On January 19, 2024, I uploaded true copies of the following document(s)
   described below to the Court’s CM/ECF website which provides electronic service
   to all counsel of record.
          I declare under penalty of perjury under the laws of the United States that
   the foregoing is true and correct.


   Dated: January 19, 2024                 LAW OFFICE OF JIMMIE DAVIS PARKER


                                           By: Jimmie Davis Parker_______
                                                 JIMMIE DAVIS PARKER, ESQ
